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 1
     KAZEROUNI LAW GROUP, APC
 2   Abbas Kazerounian, Esq. (SBN 249203)
     ak@kazlg.com
 3
     Jason A. Ibey, Esq. (SBN: 284607)
 4   jason@kazlg.com
 5
     245 Fischer Avenue, Unit D1
     Costa Mesa, CA 92626
 6   Telephone: (800) 400-6808
 7   Facsimile: (800) 520-5523
 8   HYDE & SWIGART
 9   Joshua B. Swigart, Esq. (SBN: 225557)
     josh@westcoastlitigation.com
10
     Jessica R. K. Dorman Esq. (SBN: 279919)
11   jessica@westcoastlitigation.com
12
     2221 Camino Del Rio South, Suite 101
     San Diego, CA 92108-3551
13   Telephone: (619) 233-7770
14   Facsimile: (619) 297-1022
15
     [Additional counsel for Plaintiff listed on last page]
16
     Attorneys for Plaintiff
17

18                       UNITED STATES DISTRICT COURT
19
                        CENTRAL DISTRICT OF CALIFORNIA
20   SABRINA STEWART                            Case No.:
21
     INDIVIDUALLY AND ON
     BEHALF OF ALL OTHERS                       CLASS ACTION COMPLAINT FOR
     SIMILARLY SITUATED,                        DAMAGES
22

23                Plaintiffs,                   JURY TRIAL DEMANDED

24                         v.
25   RESORTSTAY
     INTERNATIONAL, LLC
26

27                Defendant.
28




                                   CLASS ACTION COMPLAINT - 1
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 1
        1. SEBRINA STEWART (“Plaintiff”) brings this Class Action Complaint for
 2
           damages, injunctive relief, and any other available legal or equitable
 3
           remedies,   resulting   from    the    illegal   actions   of   RESORTSTAY
 4
           INTERNATIONAL, LLC (“Defendant”), in negligently and/or willfully
 5
           contacting Plaintiff on Plaintiff’s cellular telephone, in violation of the
 6
           Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq., (“TCPA”),
 7
           thereby invading Plaintiff’s privacy.      Plaintiff alleges as follows upon
 8
           personal knowledge as to themselves and their own acts and experiences,
 9
           and, as to all other matters, upon information and belief, including
10

11
           investigation conducted by their attorneys.

12
        2. The TCPA was designed to prevent calls and text messages like the ones

13         described herein, and to protect the privacy of citizens like Plaintiff.
14         “Voluminous consumer complaints about abuses of telephone technology –
15         for example, computerized calls dispatched to private homes – prompted
16         Congress to pass the TCPA.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct.
17         740, 744 (2012).
18      3. In enacting the TCPA, Congress intended to give consumers a choice as to
19         how corporate similar entities may contact them, and made specific
20
           findings that “[t]echnologies that might allow consumers to avoid receiving
21
           such calls are not universally available, are costly, are unlikely to be
22
           enforced, or place an inordinate burden on the consumer.         TCPA, Pub.L.
23
           No. 102–243, § 11. In support of this, Congress found that
24
                 [b]anning such automated or prerecorded telephone calls
25
                 to the home, except when the receiving party consents to
26               receiving the call or when such calls are necessary in an
27
                 emergency situation affecting the health and safety of the
                 consumer, is the only effective means of protecting
28




                                   CLASS ACTION COMPLAINT - 2
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 1
                 telephone consumers from this nuisance and privacy
 2               invasion.
 3
           Id. At § 12; see also Martin v. Leading Edge Recovery Solutions, LLC,
 4         2012 WL 3292838, at* 4 (N.D.Ill. Aug. 10, 2012) (citing Congressional
 5         findings on TCPA’s purpose).
 6      4. Congress also specifically found that “the evidence presented to the
 7         Congress indicates that automated or prerecorded calls are a nuisance and
 8         an invasion of privacy, regardless of the type of call….” Id. At §§ 12-13.
 9         See also, Mims, 132 S. Ct. at 744.
10      5. As Judge Easterbrook of the Seventh Circuit recently explained in a TCPA
11
           case regarding calls to a non-debtor similar to this one:
12
                The Telephone Consumer Protection Act … is well
13              known for its provisions limiting junk-fax transmissions.
14              A less-litigated part of the Act curtails the use of
                automated dialers and prerecorded messages to cell
15
                phones, whose subscribers often are billed by the minute
16
                as soon as the call is answered—and routing a call to
17              voicemail counts as answering the call. An automated
18              call to a landline phone can be an annoyance; an
                automated call to a cell phone adds expense to
19
                annoyance.
20
           Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637, 638 (7th Cir. 2012).
21
                             JURISDICTION AND VENUE
22
        6. This Court has federal question jurisdiction because this case arises out of
23
           violations of federal law. 47 U.S.C. §227(b); Mims v. Arrow Fin. Servs.,
24
           LLC, 132 S. Ct. 740 (2012).
25
        7. Venue is proper in the United States District Court for the Central District
26
           of California pursuant to 18 U.S.C. § 1391(b) and 1441(a) because
27
           Defendant is subject to personal jurisdiction in the County of Los Angeles,
28
           State of California as not only does Defendant regularly conduct business


                                  CLASS ACTION COMPLAINT - 3
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 1
           throughout the State of California, but Plaintiff resides within the County
 2
           of Los Angeles, State of California.
 3
                                            PARTIES
 4
        8. Plaintiff is, and at all times mentioned herein was, a citizen and resident of
 5
           the State of California. Plaintiff is, and at all times mentioned herein was,
 6
           a “person” as defined by 47 U.S.C. § 153 (39).
 7
        9. Plaintiff is informed and believes, and thereon alleges, that Defendant is,
 8
           and at all times mentioned herein was, a Limited Liability Company whose
 9
           headquarters is in Nevada. Defendant, is and at all times mentioned herein
10

11
           was, a corporation and is a “person,” as defined by 47 U.S.C. § 153 (39).

12
           Plaintiffs allege that at all times relevant herein Defendant conducted

13         business in the State of California and in the County of Los Angeles, and
14         within this judicial district.
15                              FACTUAL ALLEGATIONS
16      10. At all times relevant, Plaintiff was a citizen of the State of California.
17         Plaintiff is, and at all times mentioned herein was, a “person” as defined by
18         47 U.S.C. § 153 (39).
19      11. Defendant is, and at all times mentioned herein was, a Limited Liability
20
           Company and a “person,” as defined by 47 U.S.C. § 153 (39).
21
        12. At all times relevant Defendant conducted business in the State of
22
           California and in the County of Los Angeles, within this judicial district.
23
        13. Beginning in or around June of 2013, Defendant began to utilize Plaintiff’s
24
           cellular telephone number, ending in 4213, to place virtually daily
25
           incessant calls to Plaintiffs for marketing purposes.
26
        14. In during this time, Defendant placed calls on a daily basis, often placing
27
           numerous calls a day.
28




                                    CLASS ACTION COMPLAINT - 4
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 1
        15. Plaintiff never provided Defendant with her cellular telephone number or
 2
           consent to be called.
 3
        16. The calls Defendant placed to Plaintiff’s cellular telephone were placed via
 4
           an “automatic telephone dialing system,” (“ATDS”) as defined by 47
 5
           U.S.C. § 227 (a)(1) as prohibited by 47 U.S.C. § 227 (b)(1)(A).
 6
        17. This ATDS has the capacity to store or produce telephone numbers to be
 7
           dialed, using a random or sequential number generator.
 8
        18. The telephone number that Defendant, or its agents, called was assigned to
 9
           a cellular telephone service for which Plaintiff incurs a charge for incoming
10

11
           calls pursuant to 47 U.S.C. § 227 (b)(1).

12
        19. These telephone calls constituted calls that were not for emergency

13         purposes as defined by 47 U.S.C. § 227 (b)(1)(A)(i).
14      20. Plaintiff has never provided any personal information, including her
15         cellular telephone number to Defendant for any purpose. As such, neither
16         Defendant nor its agents were provided with prior express consent to place
17         calls via its ATDS to Plaintiff’s cellular telephone, pursuant to 47 U.S.C. §
18         227 (b)(1)(A).
19      21. These telephone calls by Defendant, or its agents, violated 47 U.S.C. §
20
           227(b)(1).
21
                            CLASS ACTION ALLEGATIONS
22
        22. Plaintiff brings this action on behalf of herself and on behalf of and all
23
           others similarly situated (“the Class”).
24
        23. Plaintiff represents, and is a member of, the Class, consisting of All
25
           persons within the United States who received any telephone call/s from
26
           Defendant or its agent/s and/or employee/s to said person’s cellular
27
           telephone made through the use of any automatic telephone dialing system
28
           within the four years prior to the filling of the Complaint.


                                   CLASS ACTION COMPLAINT - 5
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 1
        24. Defendant and its employees or agents are excluded from the Class.
 2
           Plaintiff does not know the number of members in the Class, but believe
 3
           the Class members number in the thousands, if not more. Thus, this matter
 4
           should be certified as a Class action to assist in the expeditious litigation of
 5
           this matter.
 6
        25. Plaintiff and members of the Class were harmed by the acts of Defendant
 7
           in at least the following ways: Defendant, either directly or through its
 8
           agents, illegally contacted Plaintiffs and the Class members via their
 9
           cellular telephones, thereby causing Plaintiff and the Class members to
10

11
           incur certain cellular telephone charges or reduce cellular telephone time

12
           for which Plaintiff and the Class members previously paid, and invading

13         the privacy of said Plaintiff and the Class members. Plaintiff and the Class
14         members were damaged thereby.
15      26. This suit seeks only damages and injunctive relief for recovery of
16         economic injury on behalf of the Class, and it expressly is not intended to
17         request any recovery for personal injury and claims related thereto.
18         Plaintiff reserves the right to expand the Class definition to seek recovery
19         on behalf of additional persons as warranted as facts are learned in further
20
           investigation and discovery.
21
        27. The joinder of the Class members is impractical and the disposition of their
22
           claims in the Class action will provide substantial benefits both to the
23
           parties and to the court. The Class can be identified through Defendant’s
24
           records or Defendant’s agents’ records.
25
        28. There is a well-defined community of interest in the questions of law and
26
           fact involved affecting the parties to be represented. The questions of law
27
           and fact to the Class predominate over questions which may affect
28
           individual Class members, including the following:


                                   CLASS ACTION COMPLAINT - 6
     Case 2:14-cv-01886-JAK-JEM Document 1 Filed 03/13/14 Page 7 of 11 Page ID #:7



 1
              a. Whether, within the four years prior to the filing of this Complaint,
 2
                    Defendant or its agents placed any calls to the Class (other than a
 3
                    call made for emergency purposes or made with the prior express
 4
                    consent of the called party) to a Class member using any automatic
 5
                    dialing system to any telephone number assigned to a cellular phone
 6
                    service;
 7
              b. Whether Plaintiff and the Class members were damaged thereby, and
 8
                    the extent of damages for such violation; and
 9
              c. Whether Defendant and its agents should be enjoined from engaging
10

11
                    in such conduct in the future.

12
        29. As persons that received numerous calls from Defendant via an automated

13         telephone dialing system, Plaintiff is asserting claims that are typical of the
14         Class.     Plaintiff will fairly and adequately represent and protect the
15         interests of the Class in that Plaintiff has no interests antagonistic to any
16         member of the Class.
17      30. Plaintiff and the members of the Class have all suffered irreparable harm as
18         a result of the Defendant’s unlawful and wrongful conduct. Absent a class
19         action, the Class will continue to face the potential for irreparable harm. In
20
           addition, these violations of law will be allowed to proceed without remedy
21
           and Defendant will likely continue such illegal conduct. Because of the
22
           size of the individual Class member’s claims, few, if any, Class members
23
           could afford to seek legal redress for the wrongs complained of herein.
24
        31. Plaintiff has retained counsel experienced in handling class action claims
25
           and claims involving violations of the Telephone Consumer Protection Act.
26
        32. A class action is a superior method for the fair and efficient adjudication of
27
           this controversy. Class-wide damages are essential to induce Defendant to
28
           comply with federal and California law. The interest of Class members in


                                     CLASS ACTION COMPLAINT - 7
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 1
              individually controlling the prosecution of separate claims against
 2
              Defendant is small because the maximum statutory damages in an
 3
              individual action for violation of privacy are minimal. Management of
 4
              these claims is likely to present significantly fewer difficulties than those
 5
              presented in many class claims.
 6
        33. Defendant has acted on grounds generally applicable to the Class, thereby
 7
              making appropriate final injunctive relief and corresponding declaratory
 8
              relief with respect to the Class as a whole.
 9
                                  FIRST CAUSE OF ACTION
10

11
          NEGLIGENT VIOLATIONS OF THE TELEPHONE CONSUMER

12
                                      PROTECTION ACT

13                                  47 U.S.C. § 227 ET SEQ.
14      35. Plaintiff incorporates by reference all of the above paragraphs of this
15            Complaint as though fully stated herein.
16      36. The foregoing acts and omissions of Defendant constitute numerous and
17            multiple negligent violations of the TCPA, including but not limited to
18            each and every one of the above-cited provisions of 47 U.S.C. § 227 et seq.
19      37. As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq,
20
              Plaintiff and The Class are entitled to an award of $500.00 in statutory
21
              damages, for each and every violation, pursuant to 47 U.S.C. §
22
              227(b)(3)(B).
23
        38. Plaintiff and the Class are also entitled to and seek injunctive relief
24
              prohibiting such conduct in the future.
25
        ///
26
        ///
27
        ///
28
        ///


                                      CLASS ACTION COMPLAINT - 8
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 1
                             SECOND CAUSE OF ACTION
 2
       KNOWING AND/OR WILLFUL VIOLATIONS OF THE TELEPHONE
 3
                           CONSUMER PROTECTION ACT
 4
                                 47 U.S.C. § 227 ET SEQ.
 5
        39. Plaintiff incorporates by reference all of the above paragraphs of this
 6
           Complaint as though fully stated herein.
 7
        40. The foregoing acts and omissions of Defendant constitute numerous and
 8
           multiple knowing and/or willful violations of the TCPA, including but not
 9
           limited to each and every one of the above-cited provisions of 47 U.S.C. §
10

11
           227 et seq.

12
        41. As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. §

13         227 et seq, Plaintiff and The Class are entitled to an award of $1,500.00 in
14         statutory damages, for each and every violation, pursuant to 47 U.S.C. §
15         227(b)(3)(C).
16      42. Plaintiff and the Class are also entitled to and seek injunctive relief
17         prohibiting such conduct in the future.
18                               PRAYER FOR RELIEF
19         Wherefore, Plaintiffs respectfully request the Court grant Plaintiff and The
20
           Class members the following relief against Defendant:
21

22
       FIRST CAUSE OF ACTION FOR NEGLIGENT VIOLATIONS OF THE
23
                             TCPA, 47 U.S.C. § 227 ET SEQ.
24
        43. As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b)(1),
25
           Plaintiff seeks for herself and each Class member $500.00 in statutory
26
           damages, for each and every violation, pursuant to 47 U.S.C. §
27
           227(b)(3)(B).
28




                                  CLASS ACTION COMPLAINT - 9
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 1
         44. Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
 2
            conduct in the future.
 3
         45. Any other relief the Court may deem just and proper.
 4

 5
         SECOND CAUSE OF ACTION FOR KNOWING AND/OR WILLFUL
 6
                 VIOLATIONS OF THE TCPA, 47 U.S.C. § 227 ET SEQ.
 7
         46. As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. §
 8
            227(b)(1), Plaintiff seeks for herself and each Class member $1,500.00 in
 9
            statutory damages, for each and every violation, pursuant to 47 U.S.C. §
10

11
            227(b)(3)(C).

12
         47. Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such

13          conduct in the future.
14        48.Any other relief the Court may deem just and proper.
15                                     TRIAL BY JURY
16       49. Pursuant to the seventh amendment to the Constitution of the United States
17          of America, Plaintiffs are entitled to, and demand, a trial by jury.
18

19

20

21

22    Dated: March 12, 2014                           KAZEROUNI LAW GROUP, APC
23                                               BY: /S/ ABBAS KAZEROUNIAN
24                                                    ABBAS KAZEROUNIAN, ESQ.
25
                                                      ATTORNEYS FOR PLAINTIFF

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                                     CLASS ACTION COMPLAINT - 10
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 1

 2    Additional Counsel
 3
      LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 4    Todd M. Friedman, Esq. (SBN: 216752)
 5
      Nicholas J. Bontrager, Esq. (SBN: 252114)
      tfriedman@attorneysforconsumers.com
 6    nbontrager@attorneysforconsumers.com
 7    369 S. Doheny Dr., #415
      Beverly Hills, CA 90211
 8
      Telephone: (877) 206-4741
 9    Facsimile: (866) 633-0228
10

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                                CLASS ACTION COMPLAINT - 11
